                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS



 INFOGATION CORPORATION,

        Plaintiff,
                                                       Civil Action No.: 6:20-cv-0366-ADA
 v.

 GOOGLE LLC,                                                  Jury Trial Demanded

        Defendant.


            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff InfoGation Corporation ("Plaintiff" or "InfoGation"), for its First Amended

Complaint with Jury Demand for patent infringement against Defendant Google LLC

("Defendant" or "Google"), alleges, based on its own knowledge as to itself and its own actions

and based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.      InfoGation is a corporation organized and existing under the laws of Delaware, with

its principal place of business at 12250 El Camino Real, Suite 116, San Diego, California 92130.

       2.      Google LLC is a corporation organized and existing under the laws of Delaware,

with its principal place of business located at 1600 Amphitheatre Parkway, Mountain View,

California 94043.

                                JURISDICTION AND VENUE

       3.      This is an action for patent infringement under the Patent Laws of the United States,

35 U.S.C. § 101, et seq.

       4.      This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).



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       5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b). Google has

committed acts of direct and indirect infringement in the Western District of Texas. Google has a

regular and established place of business in the Western District of Texas located at 500 W 2nd

St, Austin, Texas 78701.

       6.      This Court has personal jurisdiction over Google in this action because Google has

committed acts within the Western District of Texas giving rise to this action and has established

minimum contacts with this forum such that the exercise of jurisdiction over Google would not

offend traditional notions of fair play and substantial justice. Google has committed and continues

to commit acts of infringement in this District by, among other things, offering to sell and selling

products and/or services that infringe the asserted patent.

                                     THE PATENT-IN-SUIT

       7.      On September 18, 2001, the United States Patent and Trademark Office ("USPTO")

duly and legally issued U.S. Patent No. 6,292,743 ("the '743 Patent"), titled "Mobile Navigation

System," naming Qing Kent Pu and Hui Henry Li as inventors. A true and correct copy of the '743

Patent is attached hereto as Exhibit A.

       8.      InfoGation is the owner of all right, title, and interest in the '743 Patent.

       9.      Each claim of the '743 Patent is valid and enforceable.

                                  FACTUAL ALLEGATIONS

       10.     InfoGation is a pioneer in the development of on-board and handheld vehicle

navigation solutions. InfoGation produces vehicle-based turn-by-turn driving directions with

accurate voice guidance, real-time travel content, and communications integration solutions for

the automotive, trucking, commercial fleet and consumer industries.              In conjunction with

Microsoft and Clarion, InfoGation created the first in-car computing device, the AutoPC, which

was powered by Microsoft's Windows CE for Automotive operating system. InfoGation also

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licensed its software platform to the Hertz rental car company for Hertz Never Lost navigation

devices as well as the IntelliRoute navigation software to Rand McNally for its consumer,

recreational vehicle, and truck/fleet product lines.

         11.   The '743 Patent was developed by Dr. Qing Kent Pu, President, CEO, and Founder

of InfoGation, along with Dr. Hui Henry Li. The '743 Patent is directed to a mobile navigation

system wherein the client navigation computer wirelessly connects to a navigation server, receives

optimal route information from that navigation server that is formatted using a non-proprietary,

natural language description, reconstructs the optimal route from that non-proprietary, natural

language description using a mapping database coupled to the navigation computer, and displays

the optimal route on a display screen using that mapping database.

         12.   Certain Google products and services, including those that incorporate the

technology of the Google Maps API, infringe at least Claim 21 of the '743 Patent.

         13.   The Google Maps API provides an optimal route using real-time information from

a server of a navigation system. For example, the Google Maps API DirectionService object

"communicates with the Google Maps API Directions which receives direction requests and

returns an efficient path. Travel time is the primary factor which is optimized, but other factors

such as distance, number of turns and many more may be taken into account." Directions Service

|     Maps        JavaScript       API       |         Google   Developers,      available      at

https://developers.google.com/maps/documentation/javascript/directions (retrieved on May 4,

2020).

         14.   The navigation system comprises a client (such as a mobile device) and said server

(hosted by Google) coupled to a computer network (such as a wireless network). Id.




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       15.     Using the technology of the Google Maps API, Google establishes a wireless

connection between the server and the client. For example, a wireless connection is established

via the Internet or a cellular network with a client such as a mobile device.

       16.     The Google server receives start and end route designations from the client. For

example, the user of a mobile device specifies the origin and destination using the technology of

the Google Maps API, and Google receives this information at the server via the wireless

connection.

       17.     Using the technology of the Google Maps API, Google calculates at the server the

optimal route based on real-time information at the server and said start and end route designations.

For example, the Google Maps API DirectionService object "communicates with the Google Maps

API Directions which receives direction requests and returns an efficient path. Travel time is the

primary factor which is optimized, but other factors such as distance, number of turns and many

more may be taken into account." Directions Service | Maps JavaScript API | Google Developers,

available at https://developers.google.com/maps/documentation/javascript/directions (retrieved

on May 4, 2020). The technology of the Google Maps API enables users to "find the best way to

get from A to Z with comprehensive data and real-time traffic." Geo-location APIs | Google Maps

Platform | Google Cloud, available at https://cloud.google.com/maps-platform (retrieved on May

4, 2020).

       18.     Using the technology of the Google Maps API, Google formats at the server the

optimal route into a non-proprietary, natural language description. For example, Google explains:

               A DirectionsStep is the most atomic unit of a direction's route,
               containing a single step describing a specific, single instruction on
               the journey. E.g. "Turn left at W. 4th St." The step not only
               describes the instruction but also contains distance and duration
               information relating to how this step relates to the following step.
               For example, a step denoted as "Merge onto I-80 West" may



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               contain a duration of "37 miles" and "40 minutes," indicating that
               the next step is 37 miles/40 minutes from this step.

Directions   Service    |   Maps    JavaScript    API    |   Google    Developers,     available    at

https://developers.google.com/maps/documentation/javascript/directions (retrieved on May 4,

2020). The description prepared by use of the Google Maps API is non-proprietary at least because

the description is formatted using standardized messages based on a published API. Further, the

description is natural language at least because the description comprises natural language phrases

such as "Turn left at W. 4th St." To the extent these elements are not literally present, they are

present under the doctrine of equivalents.

       19.     Using the technology of the Google Maps API, Google downloads from the

server—i.e., transmits from the server to the client—said non-proprietary, natural language

description to the client (e.g., a mobile device) so that the client can reconstruct the optimal route

using a local mapping database and display said optimal route on a display system coupled to the

client. For example, Google transmits the non-proprietary, natural language description to the

mobile device in a format that enables the mobile device to construct a visual map using a local

mapping database and display the route using the map on the mobile device screen.

       20.     Thus, Google infringes and has infringed at least Claim 21 of the '743 Patent by

making, using, selling, and/or offering to sell one or more products or services incorporating the

technology of the Google Maps API.

       21.     Google has had notice of the '743 Patent since no later than October 7, 2016, the

date on which Google filed a Complaint for Declaratory Judgment of Non-Infringement of the '743

Patent in the United States District Court for the Northern District of California (Case No. 3:16-

cv-05821-VC). That case was dismissed for lack of subject matter jurisdiction.




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       22.     Further, Google has been aware that the '743 Patent is valid since no later than

September 11, 2017. On that date, the USPTO Patent Trial and Appeal Board issued a decision

declining to institute an inter partes review of the '743 Patent, rejecting a petition filed by Google

and other petitioners.

       23.     Certain terms in Claim 15 of the '743 Patent were construed in Case No. 16-cv-

01901-H-JLB, InfoGation Corp. v. ZTE Corporation, et al. and Case No. 16-cv-01902-HJLB,

InfoGation Corp. v. HTC Corporation, et. al., both filed in the United States District Court for the

Southern District of California ("the California Actions"). Specifically, the court in the California

Actions construed the terms "navigation server," "non-proprietary," "natural language," "mapping

database coupled to said navigation computer for reconstructing said optimal route from said non-

proprietary, natural language description," and "optimal routes/optimal route," all of which appear

in Claim 15. Certain of those terms and certain portions of those terms appear in Claim 21 as well.

       24.     The California Actions were resolved without a final judgment on the merits and

were never appealed to the U.S. Court of Appeals for the Federal Circuit. The court's constructions

in the California Actions are therefore not binding on this Court, nor do they have any preclusion

or other res judicata effects as to any party to this action. InfoGation anticipates that this Court

will construe the claims in this action de novo, and InfoGation reserves all rights to seek

constructions that are different from the constructions entered in the California Actions, as well as

constructions of terms that were not construed in the California Actions,

                                 FIRST CLAIM FOR RELIEF
                          (Infringement of U.S. Patent No. 6,292,743)

       25.     InfoGation incorporates the foregoing paragraphs as if fully set forth herein.

       26.     Google has made, used, sold, offered for sale, and/or imported one or more products

or services incorporating the technology of the Google Maps API, and thereby directly infringed,



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literally and/or under the doctrine of equivalents, one or more claims of the '743 Patent. Google's

infringement is ongoing.

       27.     Google has indirectly infringed the '743 Patent by inducing others to directly

infringe the '743 Patent. For example, Google has induced developers and end-users to directly

infringe (literally and/or under the doctrine of equivalents) the '743 Patents by making, using,

selling, offering for sale, and/or importing one or more products or services incorporating the

technology of the Google Maps API. Google has taken active steps, directly and/or through

contractual relationships with others, with the specific intent to cause them to make, use, sell, offer

for sale, and/or import products or services incorporating the patented technology in a manner that

infringes one or more claims of the '743 Patent. Such steps by Google have included, among other

things, advising or directing customers and end-users to use the Google Maps API in an infringing

manner; advertising and promoting the use of the technology of the Google Maps API in an

infringing manner; and/or distributing instructions that guide users to use the Google Maps API in

an infringing manner. Google is performing these steps, which constitute induced infringement

with the knowledge of the '743 Patent and with the knowledge that the induced acts constitute

infringement. Google is aware that the normal and customary use of the Google Maps API would

infringe the '743 Patent. Google's inducement is ongoing.

       28.     Google has also indirectly infringed by contributing to the infringement of the '743

Patent. Google has contributed to the direct infringement of the '743 Patent by developers and

end-users of products or services that incorporate the technology of the Google Maps API. The

Google Maps API has features that are specially designed to be used in an infringing way and that

have no substantial uses other than ones that infringe the '743 Patent. Google's contributory

infringement is ongoing.

       29.     Google has had knowledge of the '743 Patent since no later than October 7, 2016.

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       30.     Google's actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Google.

       31.     Google's direct and indirect infringement of the '743 Patent is, has been, and

continues to be willful, intentional, deliberate, and/or in conscious disregard of InfoGation's rights

under the '743 Patent.

       32.     InfoGation has been damaged as a result of the infringing conduct by Google

alleged above. Thus, Google is liable to InfoGation in an amount that adequately compensates it

for such infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

       33.     InfoGation will continue to suffer damages and irreparable harm unless Google is

restrained and enjoined by this Court, pursuant to 35 U.S.C. § 283, from further infringement of

the '743 Patent.

                                     PRAYER FOR RELIEF

       InfoGation requests that the Court find in its favor and against Google, and that the Court

grant InfoGation the following relief:

       A.      Judgment that one or more claims of the '743 Patent has been infringed, either

literally and/or under the doctrine of equivalents, by Google;

       B.      A permanent injunction enjoining Google and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the '743 Patent; or, in the alternative, an award of a

reasonable ongoing royalty for future infringement of the '743 Patent by such entities;

       C.      Judgment that Google account for and pay to InfoGation all damages to and costs

incurred by InfoGation because of Google's infringing activities and other conduct complained of




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herein, including an award of all increased damages to which InfoGation is entitled under 35

U.S.C. § 284;

       D.        That this Court declare this an exceptional case and award InfoGation its attorneys'

fees and costs in accordance with 35 U.S.C. § 285;

       E.        Pre-judgment and post-judgment interest on the damages caused to InfoGation by

reason of Google's infringing activities and other conduct complained of herein; and

       F.        Such other and further relief as the Court may deem just and proper under the

circumstances.

                                  DEMAND FOR JURY TRIAL

       InfoGation hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

Dated: August 13, 2020                             Respectfully submitted,
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